                  Case 1-19-01070-nhl     Doc 88    Filed 07/18/22    Entered 07/18/22 22:59:48




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                                                      July 18, 2022


          Via ECF
          The Honorable Nancy Hershey Lord
          United States Bankruptcy Judge
          United States Bankruptcy Court
          Eastern District of New York
          271 Cadman Plaza East
          Brooklyn, NY 11201
                                Re:    Northern Boulevard Automall, LLC.
                                       d/b/a Long Island City Volkswagen
                                       Chapter 11
                                       Case No. 19-41348-nhl

                                        Ricard J. McCord, Esq., as Chapter 7 Trustee of
                                        Northern Boulevard Automall, LLC, d/b/a Long
                                        Island City Volkswagen, Plaintiff v. 5615 Northern
                                        LLC, 142 North LLC, 54 Bway LLC, Dio Long
                                        LLC, 2545 Borden LLC, Dio North LLC, Valley
                                        Merrick LLC and Spyro Avdoulos, Defendants
                                        (collectively, the “Defendants”).
                                        Adv. Pro. No. 19-01070-nhl

          Dear Judge Lord:

                  We are counsel to Richard J. McCord, Esq. (the “Trustee”), as chapter 7 trustee of the
          estate of Northern Boulevard Automall, LLC (the “Debtor”) and plaintiff in the above referenced
          adversary proceeding 19-1070-nhl. During the most recent pre-trial conference held by the
          Court on June 30, 2022, Your Honor gave the parties the opportunity to address discovery issues
          in this pending adversary proceeding while we await a decision from the U.S. District Court on
          Defendants’ motion to withdraw the reference (the “Motion”). The District Court held a
          conference on that pending Motion on July 7, 2022, and indicated that the submissions were
          being reviewed, but gave no timetable for a possible decision.

                  Rule 5011(c) of the Federal Rules of Bankruptcy Procedure provides that the filing of a
          motion to withdraw the reference does “not stay the administration of the case or any proceeding
          therein before the bankruptcy judge except that the bankruptcy judge may stay, on such terms
          and conditions as are proper, proceedings pending disposition of the motion.” FED. R. BANKR. P.
          5011(c).
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        As we discussed with Your Honor at the last pre-trial conference, the Trustee believes,
and hereby requests, that at this point discovery should be initiated for the claims he asserts
against the Defendant in his complaint [Adv. ECF Doc. No. 1] (the “Complaint”)
notwithstanding the pending Motion so that the Trustee can continue to move forward with his
administration of the Debtor’s case. Such process should also include discovery on the
affirmative defenses raised by the Defendants in their answer [Adv. ECF Doc. No. 23] (the
“Answer,” and collectively with the Complaint, the “Trustee Action”). Although the District
Court has indicated that it is in the process of reviewing the Motion, there is no assurance that a
decision will be coming forthwith, and more than two years has passed since that motion was
fully briefed. The Trustee believes that moving forward on the Trustee Action is appropriate at
this time as it is one of the few remaining issues for the Trustee to address in administering the
Debtor’s estate, and it involves seeking a recovery in excess of $3,000,000.

        Upon the Court establishing a discovery deadline, which the Trustee requests ninety-days
for fact discovery, the Trustee will promptly serve appropriate discovery demands on each of the
Defendants. The Trustee reserves the right to seek discovery from non-party witnesses as well,
which may include certain persons that may be third-party defendants in the Defendants’ third-
party complaint which was filed within the Trustee’s above-referenced adversary proceeding.
The Trustee is not a party to that third-party complaint. The Trustee submits that the Court’s
discretion under Rule 5011(c) is broad, and that the Court could craft appropriate discovery
guidelines in establishing a discovery deadline for the Trustee Proceeding. For instance, any
discovery outside of that sought by the Trustee against the Defendants and vice-versa, should be
treated as non-party discovery, with all of the rights and protections afforded non-party witnesses
under the Federal Rules of Bankruptcy Procedure as incorporating the Federal Rules of Civil
Procedure.

      At this time, we respectfully request that at the next pre-trial conference, scheduled for
August 17, 2022, at 2:30 p.m., the Court establish a fact discovery deadline so that the Trustee
may move this adversary proceeding forward.

        Thank you.
                                              Respectfully,

                                              /s/Robert D. Nosek
                                              Robert D. Nosek

RDN:

cc:     Richard J. McCord, Esq.
        George Sitaras, Esq. (via email)
        Richard Diorio, Esq. (via email)
        Janice B. Grubin, Esq. (via email)
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